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             EXHIBIT 2
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS



MODERNATX, INC. and MODERNA US, INC.,

                Plaintiffs,

     v.
                                           C.A. No. 22-11378-RGS
PFIZER INC., BIONTECH SE, BIONTECH
MANUFACTURING GMBH, and BIONTECH           JURY TRIAL DEMANDED
US INC.,

                Defendants.



    MODERNA’S MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
   PRODUCTION OF DOCUMENTS OVER WHICH BIONTECH HAS WAIVED
                         PRIVILEGE
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I.      INTRODUCTION

        Plaintiffs ModernaTX, Inc. and Moderna US, Inc. (collectively, “Moderna”) seek to

compel Defendants BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc.

(collectively, “BioNTech”) to produce at least 21 documents improperly clawed back as

privileged.

        Moderna in this litigation has accused Defendants of willfully infringing three Moderna

patents critical to the success of the parties’ COVID-19 vaccines.



                    In an apparent attempt to rebut Moderna’s allegations of willful infringement,

BioNTech has deliberately disclosed and affirmatively relied upon



                                                              . However, BioNTech has sought to

shield from disclosure other communications on the same subject matter by asserting attorney-

client privilege.

        BioNTech cannot have it both ways.             Having disclosed and relied upon certain

communications                                                                                    ,

BioNTech may not now claim privilege over other communications on the same subject matter.

Moderna therefore respectfully requests that the Court order BioNTech to produce its

communications                                     that BioNTech has clawed back or withheld as

privileged.

        Fact discovery closed on December 13, 2023, and Moderna has been trying to resolve a

handful of outstanding fact issues prior to the deadline for opening expert reports on February 16,

2024. ECF 62, Scheduling Order. This case is on track for trial in 2024, and to keep the case on

track for timely adjudication, Moderna seeks the Court’s assistance.
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counsel who had “asked                                             so that they can provide legal

advice.” Id. at 276:17-278:19.

       Two days later, on December 6, 2023,              was deposed.              is

                                                                        , and was designated as

BioNTech’s corporate representative on a number of 30(b)(6) topics, including topics related to,

among other things, BioNTech’s awareness of a publication in the priority chain of the asserted

’574 patent, BioNTech’s response to Moderna’s Interrogatory No. 8,

                                           , and certain topics related to validity arguments. Ex.

8,      Ex. 1; Ex. 9,     Ex. 3; Ex. 10,      Dep. Tr. 14:24-25:4, 193:6-15. During

deposition, counsel for Moderna marked BNT_COMIR_1388847. Id. at 220:7-9. Counsel for

BioNTech clawed the document back, stating that it reflected legal advice of unnamed outside

counsel. Id. at 220:10-222:8. Counsel for BioNTech confirmed that BioNTech’s claim of

privilege over the document was not based on the involvement of              , but rather the belief

that the document reflected the input of outside counsel for BioNTech. See id.

       Several days after the depositions, on December 7, 2023, BioNTech formally clawed back

the three documents clawed back during                                deposition, as well as 24

additional documents on December 8, 2023, many of which involved                    as a sender or

recipient. Ex. 11, December 8, 2023 Email at 1-3; Ex. 12, BioNTech’s Third Supplemental

Privilege Log. The entries for the three documents clawed back during

depositions were given essentially the same description on BioNTech’s privilege log:



                                                                                           Ex. 12,

BioNTech’s Third Supplemental Privilege Log at Entry Nos. 19, 25, 27. At the time of the



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documents’ creation (August 2020),                                           were all attorneys at

                       . Their names do not appear in the Author/From, To, CC, or BCC fields of

any email communications on BioNTech’s third privilege log. Id. BioNTech’s privilege log

instead identifies them as authors on PowerPoint presentations attached to certain of the emails on

BioNTech’s log. Ex. 12, BioNTech’s Third Supplemental Privilege Log.

       Moderna seeks production of at least Entry Nos. 7-27 on BioNTech’s Third Supplemental

Privilege Log.    Those entries are highlighted in Exhibit 12.         These 21 entries are the

communications with                that Moderna can identify from the information provided on

BioNTech’s privilege log, but relief should extend to any other documents clawed back or withheld

that involve, but do not list,              in the log. For example, if a BioNTech employee

forwarded                 request for information to another BioNTech employee, that document

should likewise be produced, though Moderna would be unable to identify it as a communication

involving             through BioNTech’s privilege log because the parties are only required to

identify the From/Author, To, CC, and BCC fields of the most recent email in a given document.

       C.       BioNTech’s Counsel Affirmatively Introduced Documents And Elicited
                Testimony Regarding                                    .

       During               deposition, counsel for BioNTech conducted a re-direct examination

on, among other things,



         .

       Counsel first questioned           on

                                                                              . See Ex. 10,

Dep Tr. at 254:21-255:18. Counsel for BioNTech elicited testimony suggesting that

                                                                                      :


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things. You’ve made a subject matter waiver over all of this material,” Ex. 10,      Dep. Tr. at

221:4-9. Moderna also held                deposition open based on the documents clawed back

because he was designated as BioNTech’s corporate witness on

                              . Id. at 221:10-14.

       BioNTech provided its privilege log on December 8, 2023. Ex. 11, December 8, 2023

Email from Kasaraneni; Ex. 12, BioNTech’s Third Supplemental Privilege Log.            Moderna

followed up in written correspondence challenging BioNTech’s apparently inconsistent approach

to privilege in correspondence on December 12, 2023. Ex. 13, December 12, 2023 Letter.

BioNTech did not respond until Friday, December 22, 2023, and the parties agreed to meet and

confer following the holidays on January 4, 2024. See Ex. 14, December 22, 2023 Email; Ex. 15,

December 22, 2023 Letter; Ex. 16, January 3, 2024 Letter; Ex. 17, January 9, 2024 Email at 5-7.

During the meet and confer, counsel for BioNTech would not agree to produce the improperly

withheld documents. See Ex. 18, January 8, 2024 Letter at 1-2; see also Ex. 19, January 11, 2024

Letter at 1-2. Counsel for BioNTech asserted for the first time on January 9, 2024 that BioNTech

would respond to “new assertions you made for the first time [in Moderna’s January 8, 2024

letter].” Ex. 17, January 9, 2024 Email at 3. Moderna did not make any “new” statements in its

January 8, 2024 Letter, but merely summarized the prior correspondence and meet and confer. Ex.

19, January 11, 2024 Letter. BioNTech sent further correspondence late in the evening on January

17, 2024, but did not agree to produce the documents requested. Ex. 20, January 17, 2024 Letter

at 1-3. The parties are at impasse.

II.    LEGAL STANDARD

       A party seeking to compel information in discovery has the burden of showing its

relevance. Roy v. FedEx Ground Package Sys., Inc., No. 3:17-CV-30116-KAR, 2023 WL

3587305, at *1 (D. Mass. May 22, 2023). BioNTech’s withheld
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                                         is relevant to Moderna’s claim of willfulness and for

enhancement of damages.



                 Crane Sec. Techs., Inc. v. Rolling Optics AB, 337 F. Supp. 3d 48, 57 (D. Mass.

2018), aff’d, 784 F. App’x 782 (Fed. Cir. 2019). Such analysis is also potentially relevant to

Defendants’ claims of invalidity.

       Under Federal Rule of Evidence 502, waiver extends to undisclosed communications or

information where “(1) the waiver is intentional; (2) the disclosed and undisclosed

communications or information concern the same subject matter; and (3) they ought in fairness to

be considered together.” Fed. R. Evid. 502(a). Put simply, a party cannot use privilege as both a

sword and a shield. See, e.g., In re Keeper of the Records, 348 F.3d 16, 24 (1st Cir. 2003). “Were

the law otherwise, the client could selectively disclose fragments helpful to its cause, entomb other

(unhelpful) fragments, and in that way kidnap the truth-seeking process.” Id. “A waiver occurs

when a document otherwise privileged or protected as work product is disclosed to an adversary”

or where “a party is attempting to use otherwise protected information as ‘both a sword and a

shield’ in order to gain an unfair tactical advantage over the opposing party.” Columbia Data

Prod., Inc. v. Autonomy Corp., C.A. No. 11-12077-NMG, 2012 WL 6212898, at *16-17 (D. Mass.

Dec. 12, 2012). Waiver may also occur where disclosure is inadvertent if the holder of the

privilege does not take “reasonable steps to prevent disclosure” or does not take “reasonable steps

to rectify the error.” Fed. R. Evid. 502(b). Where an accused infringer relies on communications

with an in-house legal department to rebut claims of willful infringement, the waiver of privilege

extends to the work of outside counsel on the same subject matter. In re EchoStar Commc’ns




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 Corp., 448 F.3d 1294, 1299 (Fed. Cir. 2006) (denying mandamus on order finding waiver of

 privilege).

           BioNTech, as the party asserting the privilege, has the burden to establish the existence of

 a privilege and that the privilege was not waived. Columbia Data, 2012 WL 6212898, at *11.

III.       ARGUMENT

           BioNTech’s assertion of privilege over the communications sought by this motion is a

 classic case of selectively relying on privileged communications as a sword while simultaneously

 seeking to assert privilege to shield other communications from disclosure on the same subject

 matter.     BioNTech has deliberately disclosed

                                                               . See supra § I.A. And BioNTech has

 affirmatively elicited testimony from its witnesses about their communications with

                                  .   See supra § I.C.      Having affirmatively relied on certain

 communications with                                                , BioNTech may not shield others

 from disclosure as privileged.

           A.     BioNTech’s Waiver Was Intentional.

           BioNTech’s waiver of privilege over documents involving

                                                                     is clear from the facts that (1)

 BioNTech has not clawed back documents that include,

                                              ; and (2) BioNTech’s counsel affirmatively introduced

 documents and elicited testimony regarding                                                 during the

 re-direct examination of one of BioNTech’s corporate witnesses regarding willfulness related

 topics,            .

           First, BioNTech has affirmatively stated that it is not clawing back several documents that

                                                See supra § I.A, Ex. 3 at 2. Not only did BioNTech

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       Second, BioNTech’s re-direct examination during                     deposition affirmatively

elicited testimony on                                              . See supra § I.C. BioNTech’s

re-direct examination put at issue

                                                                               . See supra § I.C.

BioNTech elicited from               —BioNTech’s corporate representative on willfulness-related

topics—testimony suggesting that

                                              . See supra § I.C. In doing so, BioNTech used three

communications among                  ,          , and others at BioNTech. See supra § I.C. There

is no question that this questioning was deliberate; it was conducted by BioNTech’s own counsel.

See supra § I.C.

       B.      The Disclosed and Undisclosed BioNTech Documents Concern the Same
               Subject Matter—
                              .

       BioNTech’s decision to disclose and rely upon certain communications with

                                     forecloses BioNTech from claiming privilege over the

communications with                  on the same subject matter. “The overarching goal of waiver in

such a case is to prevent a party from using the advice he received as both a sword, by waiving

privilege to favorable advice, and a shield, by asserting privilege to unfavorable advice.”

EchoStar, 448 F.3d at 1303.

       The four documents described above in §§ I.A and I.C that BioNTech has deliberately

disclosed and affirmatively relied upon have the following features in common. They are

communications between

and employees at BioNTech without any counsel present on the email. See supra § I.A. They are

also communications in which

                   :
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 representative on willfulness-related topics, suggest that BioNTech plans to use

 emails in support of both validity and willfulness arguments. See supra §§ I.A and I.C. If

 BioNTech intends to offer evidence or argument in this case that its infringement was not willful

 or that Moderna’s patents are invalid by relying on

                                     , then Moderna must in fairness be permitted to know the full

 scope of such analyses.

        Second, BioNTech cannot use emails involving

             defense to willfulness. BioNTech did not disclose its intent to rely on any

         in the timeframe set forth by the Local Rules and is thus foreclosed from such reliance.

 Given that failure to disclose, BioNTech should not be able to introduce what amount to

                                       by laundering them through                   emails and the

 testimony of fact witnesses based on those emails. In sum, BioNTech cannot selectively waive

 privilege over                emails to elicit from           testimony that



                                                                                without in fairness

 providing                 other communications on the same subject matter. See supra §§ I.A-C;

 see also EchoStar Commc’ns Corp., 448 F.3d at 1304. Moderna is entitled to the full picture—

 not just the portions that BioNTech prefers.

IV.     CONCLUSION

        For the foregoing reasons, Moderna respectfully requests an order from the Court

 compelling production of all documents clawed back or withheld by BioNTech concerning



                                        , including at least Entry Nos. 7-27 on BioNTech’s Third

 Supplemental Privilege Log, Exhibit 12.
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       Moderna also respectfully requests that, if the Court orders production of documents

improperly clawed back or withheld by BioNTech, that the Court order BioNTech to produce a

corporate witness competent to testify about the documents. The deposition could be completed

in two hours or fewer.




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Date: January 19, 2024               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on January 19, 2024, I filed the foregoing document with the United States

District Court for the District of Massachusetts and caused it to be served on all registered

participants via email.



                                                        /s/ Kevin S. Prussia

                                                        Kevin S. Prussia (BBO# 666813)
